Case 2:02-cr-00217-RAJ-JEB Document 386 Filed 08/05/14 Page 1 of 4 PageID# 258



                                                                                             FILED
                             IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                          AUG -5 2014
                                  Norfolk Division

                                                                                    CLERK, US DISTRICT COURT
                                                                                           NORFOLK, VA
KARL E. MOORE, SR.,

               Petitioner,

v.                                                    CRIMINAL ACTION NO. 2:()2cr2I7(l)

UNITED STATES OF AMERICA,

               Respondent.


                                    MEMORANDUM ORDER


       Before the Court is a motion entitled "Writ of Error Coram Nobis" filed by KARL E.

MOORE, SR. ('•Petitioner"*). Petitioner seeks resentencing because he alleges that the jury did

not decide all of elements of the crime before he was found guilty and sentenced in violation of the

United States Constitution and the United State Supreme Court's ruling in Alleyne v. United

States. 133 S. Ct. 2151 (2013).

       As is indicated by the case law, "|t|he writ of error coram nobis is an unusual legal animal

that courts will use to set aside a criminal judgment of conviction only 'under circumstances

compelling such action to achieve justice.' By contrast with a writ of habeas corpus, a writ of error

coram nobis is available only to petitioners who have completed their sentences and are no longer

in custody." Hager v. UnitedSlates, 993 F.2d 4, 5 (1st Cir. 1993) (citing United States v.

Morgan, 346 U.S. 502, 511 (1954)) (internal citation omitted). As the Petitioner is clearly in the

custody of the United Stales Bureau of Prisons, a writ of coram nobis is not available to him at this

time, see United States v. Akinsade, 686 F.3d 248, 252 (4th Cir. 2012), and the Court construes this

motion as a petition under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Petitioner's Sentence
Case 2:02-cr-00217-RAJ-JEB Document 386 Filed 08/05/14 Page 2 of 4 PageID# 259




("§ 2255 Motion"). Title 28 U.S.C. § 2255 authorizes a person in federal custody to seek to

vacate his sentence or conviction if either was improperly attained.       Section 2255(h) provides

that a "second or successive motion" must be certified by the appropriate court of appeals.

Petitioner filed motions to vacate his conviction on October 5, 2007 and October 7, 2011. This

Court denied both motions. The United States Court of Appeals for the Fourth Circuit ("Fourth

Circuit") affirmed the Court's denials and refused certificates of appealability. The instant

motion is the third § 2255 Motion filed by Petitioner. The Court has not received an order from

the Fourth Circuit authorizing consideration of Petitioner's successive § 2255 Motion and the

record does not show that Petitioner has moved for a certificate of appealability. Because

 Petitioner has failed to obtain authorization from the Fourth Circuit to file a successive petition, the

Court lacks jurisdiction to consider this motion.

        However, even if the petition was not a successive motion, Petitioner's motion lacks merit.

 First, the rule in Alleyne is not retroactive and precludes Petitioner from seeking redress under 28

 U.S.C. § 2255 because his conviction was final before the Supreme Court's decision. See e.g.,

Simpson v. United States, 721 F.3d 875, 876 (7th Cir. 2013) (explaining that "[ujnless the Justices

 ... decide that Alleyne applies retroactively on collateral review, we cannot authorize a successive

 collateral attack"); Lopez v. UnitedStates, 2013 U.S. Dist. LEXIS 121947, 2* n.2 (E.D. N.Y.

 2013) ("Alleyne has not been made retroactive by the Supreme Court to cases on collateral

 review"); UnitedStates v. Condra, 2013 U.S. Dist. LEXIS 124257,6* n.4 (W.D. Va. 2013) ("The

 Supreme Court did not declare the new rule in Alleyne retroactively on collateral review, nor is it

 likely to do so"). Second, Alleyne does not provide relief where a sentence was not based on

judicial fact-finding of crime elements altering the range of sentences to which a defendant was

 exposed. Alleyne, 133 S.Ct. at 2158. The jury found Defendant committed the relevant offenses
Case 2:02-cr-00217-RAJ-JEB Document 386 Filed 08/05/14 Page 3 of 4 PageID# 260




based on sufficient evidence of guilt, and, as the Fourth Circuit affirmed on direct appeal, the jury

would have determined that such offenses involved the specific drug amounts charged in the

Indictment. See United States v. Smith, 441 F.3d 254, 273 (4th Cir. 2006). The instant motion

simply attempts to relitigate previously asserted appeal and post-conviction claims that have

already been denied by this Court and the Fourth Circuit.

        Accordingly, Petitioner's Motion for Writ of Error Coram Nobis (ECF No. 380) is

 DISMISSED without prejudice to his ability to move the Fourth Circuit for leave to file a

successive § 2255 petition. Petitioner's Motion for Extension of Time to file a response to the

Government's opposition to the Motion for Writ of Error Coram Nobis (ECF No. 384) is DENIED

as MOOT.      Pursuant to Rule 11 (a) of the Rules Governing Proceedings Under 28 U.S.C. § 2255,

the court is also required to issue or deny a certificate of appealability, which may issue "only ifthe

applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. §

2253(c)(2). Where the court denies a petitioner's habeas petition on its merits, the petitioner

 satisfies this standard by demonstrating that reasonable jurists would find the court's assessment of

 the constitutional claims debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484, 120

S.Ct. 1595, 146 L.Ed.2d 542 (2000); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123

S.Ct. 1029, 154 L.Ed.2d 931 (2003). Petitioner does not satisfy this standard; accordingly, the

Court DENIES a certificate of appealability. Although Petitioner may not appeal the denial of

 his § 2255 Motion without a certificate of appealability, he may seek one from the Fourth Circuit.

        The Clerk is DIRECTED to send a copy of this Order to Petitioner and to the United States

Attorney. The Court also DIRECTS the Clerk to send Petitioner a copy of the instructions and

form packet for "Filing Motion Under 28 U.S.C. § 2244 For Order Authorizing District Court to

Consider Second or Successive Application for Relief Under 28 U.S.C. §§ 2254 or 2255." The
Case 2:02-cr-00217-RAJ-JEB Document 386 Filed 08/05/14 Page 4 of 4 PageID# 261




Court ADVISES Petitioner that he may appeal this final order with a certificate of appealability by

forwarding a written notice of appeal to the Clerk of the United States District Court, United States

Courthouse, 600 Granbv Street, Norfolk, VA 23510.       fhe Clerk must receive this written notice

within sixty (60) days from this Order's date.

       IT IS SO ORDERED.




                                                                                   M
v,   ..„,,-   • •                                                    Raymond A. ackson
Norlolk, Virginia                                                    United States D-strict Judge
August J) ,2014
